Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 1 of 12




            EXHIBIT 4
Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 2 of 12
        Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 3 of 12




        1.     “6(b) Study” means a study by the Federal Trade Commission pursuant to Section
6(b) of the FTC Act.

       2.       “Action” means the action captioned Federal Trade Commission, et al. v. Meta
Platforms, Inc., et al., Case No. 3:22-CV-04325-EJD, which is currently pending in the United
States District Court for the Northern District of California.

       3.     “Administrative Complaint” means the administrative action captioned In the
Matter of Meta Platforms, Inc., et al., Docket No. 9411, filed before the Federal Trade Commission
on August 11, 2022.

       4.      “Communication” means any exchange of information between two or more
Persons, through any mode of conveying information, including but not limited to telephone calls,
e-mails and all other forms of electronic communication and electronic messaging, letters, faxes,
conversations, interviews, meetings, hearings, or other written, electronic or spoken language or
graphics, however transmitted or stored.

       5.      “Concerning,” “Related to,” and “Regarding” means analyzing, alluding to,
concerning, considering, commenting on, consulting, comprising, containing, describing, dealing
with, evidencing, identifying, involving, reporting on, relating to, reflecting, referring to,
regarding, studying, mentioning, or pertaining to, in whole or in part.

        6.     “Data” means facts, statistics, or other information of any kind, however produced
or reproduced, which can be used for purposes of calculation or analysis.

       7.      “Document” means written or graphic material of any kind, however produced or
reproduced, whether draft or final, original or reproduction, including: contracts, memoranda,
brochures, pamphlets, letters, emails (including attachments, message content, and header
information), faxes, diaries, financial statements, bank statements, bills, invoices, wire transfer
confirmations, minutes, notes, summaries of communications, photographs, and audio or video
recordings. “Document” also includes all drafts or non-identical copies, such as those bearing
comments in the margin or other marks or notations not present on the original or final copy. If
any “Communication” or “Data” is reduced to writing or other recordation, it is also a “Document.”

        8.      “Extended Reality” means hardware and software components relating to
delivering virtual reality, mixed reality, augmented reality, or other enhanced reality experiences
to users.

       9.      “FTC” means the Federal Trade Commission.

       10.      “Merger” means the proposed acquisition of Within Unlimited, Inc. by Meta
Platforms, Inc.



                                                2
        Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 4 of 12




       11.     “Meta” means:

                (a)    Meta Platforms, Inc., its subsidiaries, affiliates, divisions, either
collectively, individually, or in any subset; and

               (b)    The present and former officers, directors, employees, agents, and other
persons acting on behalf of Meta, its divisions, subsidiaries, and/or affiliates.

       12.     “Person” means any natural person, corporation, association, organization, firm,
company, partnership, joint venture, trust, estate, or other legal or governmental entity, whether or
not possessing a separate juristic existence.

       13.     “Testimony” means any sworn testimony, including, but not limited to, affidavits,
declaration, depositions, or investigational hearings.

       14.     “Within” means:

               (a)     Within Unlimited Inc., its affiliates, divisions, either collectively,
individually, or in any subset; and

               (b)    The present and former officers, directors, employees, agents, and other
persons acting on behalf of Within, its divisions, subsidiaries, and/or affiliates.

        15.    “You” and “Your” mean the FTC, its officers, Commissioners, employees, agents,
representatives, affiliates, consultants, advisors, successors, or predecessors, as well as all persons
acting on the FTC’s behalf, and any and all persons associated with, affiliated with, or controlled
by the FTC.

        16.      Unless clearly indicated otherwise: (a) the use of a verb in any tense shall be
construed as the use of that verb in all other tenses; (b) the use of the feminine, masculine, or neuter
genders shall include all genders; (c) the singular form of a word shall include the plural, and vice
versa; (d) the connectives “and” and “or” shall be construed either disjunctively or conjunctively
as necessary to bring within the scope of any request all information that might otherwise be
construed to be outside of its scope; (e) the word “any” shall include, without limitation, “each and
every”; (f) the terms “all” and “each” shall be construed as “all and each”; (g) the term “including”
is intended to be comprehensive and means “including, but not limited to”; and (h) the terms
“between” and “among” shall be construed as “between” or “among” as necessary to bring within
the scope of any request all responses and documents that might otherwise be construed to be
outside its scope.

       17.     For the purposes of the Requests for Production, terms not specifically defined shall
be given their ordinary meanings as You understand them to be used in the trade or pursuant to
ordinary usage.


                                                   3
        Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 5 of 12




      18.     The use of any definition for the purposes of the Requests for Production shall not
be deemed to constitute an agreement or acknowledgment that such definition is accurate,
meaningful, or appropriate for any other purpose in this Action.

                                           INSTRUCTIONS

       1.      Furnish all responsive Documents, Data, and backup materials in Your
possession, custody, or control.

        2.     For each request, You are to produce entire documents including all attachments,
enclosures, cover letters, memoranda and appendices. Copies that differ in any respect from an
original (because, by way of example only, handwritten or printed notations have been added)
shall be treated as separate documents and produced separately. Each draft of a document is a
separate document. A request for a document shall be deemed to include a request for any and all
transmittal sheets, cover letters, exhibits, enclosures or attachments to the document, in addition
to the document itself.

        3.      Provide all electronically stored information (“ESI”) in standard, single-page
Group IV TIFF format with searchable text and metadata in a Concordance or similar load file.
Also, provide any spreadsheet or presentation files, including Microsoft Access, Excel, and
PowerPoint files, as well as audio, audiovisual, and video files, in their native formats. Provide all
hard copy documents as image files with searchable OCR text and unitize the hard copy documents
to the extent possible (i.e., multi-page documents shall be produced as a single document and not
as several single-page documents). Hard copy documents shall be produced as they are kept,
reflecting attachment relationships between documents and information about the file folders
within which the document is found. Produce the metadata for any responsive ESI with the
responsive Data, including the following fields: custodian, author(s), recipient(s), blind copy
recipient(s), subject, file sent date/time, file creation date/time, file modification date/time, file last
accessed date/time, beginning Bates, ending Bates, parent beginning Bates, attachment(s)
beginning Bates, hash value, application type, file type, file name, file size, file path, and folder
path. Documents produced in native format shall be accompanied by a native link field.

       4.      These document requests shall not be deemed to call for identical copies of
documents. “Identical” means precisely the same in all respects; for example, a document with
handwritten notes or editing marks shall not be deemed identical to one without such notes or
marks. For the avoidance of doubt, all instances of documents that are otherwise “identical” must
be produced if attached or enclosed to separate parent documents, pursuant to Instruction No. 2.

        5.     The Documents responsive to these requests are to be produced as they were kept
in the ordinary course of business and are to be labeled in such a way as to show which files and
offices they came from.



                                                    4
        Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 6 of 12




        6.      If You assert that part of the request is objectionable, respond to the remaining parts
of the request to which You do not object. For those portions of any document request to which
You object, please state the reasons for such objection and describe the Documents or categories
of Documents that are not being produced.

       7.      If any privilege is asserted in objecting to any request or sub-part thereof, and any
Document is withheld (in whole or in part) on the basis of such assertion, provide a log (“Privilege
Log”) describing the basis for the claim of privilege and all information necessary for Defendants
and the Court to assess the claim of privilege. The Privilege Log shall include the following:

       (a)     Specific grounds for the claim of privilege;

       (b)     The type of document withheld;

       (c)     The date of the privileged communication;

       (d)     The persons involved in the privileged communication;

        (e)     A description of the subject matter of the privileged communication in sufficient
detail to assess the claim of privilege; and

       (f)     The specific request to which the privileged information is responsive.

       (g)     The identity of and any production Bates number assigned to any attachment(s),
enclosure(s), cover letter(s), or cover email(s) of each Document, including the information
outlined in subsections (a) through (g) above for each such attachment, enclosure, cover letter, or
cover email.

Attachments, enclosures, cover letters, and cover emails shall be entered separately on the
Privilege Log. The Privilege Log shall include the full name, title, and employer of each author,
addressee, and recipient, denoting each attorney with an asterisk. Submit all non-privileged
portions of any responsive Document (including non-privileged or redactable attachments,
enclosures, cover letters, and cover emails) for which a claim of privilege is asserted, noting where
redactions to the Document have been made.

       8.      These requests are continuing in nature, and You must supplement Your responses
pursuant to Federal Rule of Civil Procedure 26(e). Defendants specifically reserve the right to seek
supplementary responses and the additional supplementary production of Documents before trial.




                                                  5
        Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 7 of 12




                               REQUESTS FOR DOCUMENTS

Request No. 1:

        All Documents, Communications, and Testimony that You obtained, considered, or relied
upon in connection with your investigation of the Merger, the drafting or filing of the Complaint
filed in this Action on July 27, 2022, the drafting or filing of the Administrative Complaint on
August 11, 2022, or your prosecution of this Action, other than Documents or Communications
You received from Meta or Within.

Request No. 2:

        All Documents Concerning Your past, present, or future contact, or considered or
contemplated contact, with any non-parties or any other Persons Related to the Merger and/or Your
investigation of the Merger, including Documents Related to telephone conferences, in-person
conferences, meetings, interviews, or correspondence with actual or potential customers or
competitors of the Defendants, or any other Persons, in connection with the Merger or Extended
Reality industry.

Request No. 3:

        All Documents Related to the FTC’s past, present, or future communications with any non-
parties or any other Persons in connection with the Merger, Complaint, or Extended Reality
industry, including, but not limited to, notes, summaries, transcripts, or records of interviews or
discussions with any such non-parties or other Persons.

Request No. 4:

        All Documents relating to any Communications between You and any other members of
the federal government, including the Executive and Legislative branches, any other governmental
regulator, or former Federal Trade Commissioners or personnel in relation to Your investigation
of the Merger.

Request No. 5:

        All Documents Concerning Defendants’ respective businesses, including Documents that
define or otherwise analyze candidate, proposed, or alleged relevant antitrust markets, market
share, and future growth projections or opportunities.

Request No. 6:

      For the period of January 1, 2019 to present, all public and non-public Documents
Concerning the Extended Reality industries (including, but not limited to, virtual, augmented, or


                                                6
         Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 8 of 12




mixed reality fitness), as well as connected fitness, at-home fitness, and other in-person fitness
products or services, including Documents that define or otherwise analyze candidate, proposed,
or alleged relevant antitrust markets, market share, future growth projections or opportunities of
any Extended Reality software and hardware developers, and any intergovernmental Documents
such as speeches, correspondence, communications, congressional sessions, and meetings, as they
Relate to the fitness and Extended Reality industries.

Request No. 7:

       For the period of January 1, 2019 to present, All Documents Concerning proposed, actual,
or contemplated transactions Related to any fitness and Extended Reality (not limited to fitness)
industry.

Request No. 8:

       All Documents Concerning the calculation of market shares or application of the
Herfindahl-Hirschman Index to the Merger.

Request No. 9:

        All Documents Concerning any growth synergies, cost synergies, or other quantitative or
qualitative efficiencies or benefits that Meta2 may be able to realize in connection with the Merger.

Request No. 10:

      For the period of June 15, 2021 to present, all Documents and Communications in which
Lina Khan has discussed Meta and/or Mark Zuckerberg.

Request No. 11:

       All Documents and Communications that Lina Khan relied upon or considered in
connection with review of the Merger, the vote to file the Complaint in this Action on July 27,
2022, or the vote to file the Administrative Complaint on August 11, 2022, other than Documents
or Communications from or with Meta or Within.

Request No. 12:

        All Documents and Communications Concerning the participation of any Commissioner
in review of the Merger, the decision to authorize the Complaint, and any of the allegations



2
  In addition to the definition of Meta as stated in the “Definitions” section, for Requests No. 9 and No. 10, Meta
should also mean Facebook and any acronyms or code names used for Meta.


                                                          7
       Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 9 of 12




contained in the Complaint and Memorandum of Points and Authorities in support of Your Motion
for Temporary Restraining Order.

Request No. 13:

      All Documents identified or reviewed in order to respond to any Interrogatory, Request for
Admission, or deposition issued pursuant to Federal Rule of Civil Procedure 30(b)(6) from any
Defendant in this Action.

Request No. 14:

        All Documents created, prepared, collected, or received by You in connection with the
Merger to the extent not responsive to Document Requests Nos. 1-13 set forth above, including,
but not limited to, any Bureau of Economics and/or Bureau of Competition memoranda evaluating
the Merger.

Request No. 15:

       All Documents and analyses Concerning acquisitions by technology platform companies
and the effects of those acquisitions on early-stage investment.

Request No. 16:

       All Documents and analyses Concerning the FTC’s 6(b) Study of acquisitions by
technology platform companies in FTC Matter No. P201201.




                                               8
      Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 10 of 12




Dated: August 16, 2022                    /s/ Bambo Obaro
                                          Bambo Obaro, CA Bar No. 267683
                                          bambo.obaro@weil.com
                                          WEIL, GOTSHAL & MANGES LLP
                                          201 Redwood Shores Parkway, 6th Floor
                                          Redwood Shores, CA 94065-1134
                                          Telephone: (650) 802-3000
                                          Facsimile: (650) 802-3100

                                          Chantale Fiebig, DC Bar No. 487671
                                          Chantale.Fiebig@weil.com
                                          Telephone: (202) 682-7000
                                          Facsimile: (202) 857-0940
                                          Michael R. Moiseyev (pro hac vice)
                                          Michael.Moiseyev@weil.com
                                          Telephone: (202) 682-7235
                                          Facsimile: (202) 857-0940
                                          WEIL, GOTSHAL & MANGES LLP
                                          2001 M Street NW, Suite 600
                                          Washington, DC 20036

                                          Eric S. Hochstadt, NY Bar No. 4222683
                                          eric.hochstadt@weil.com
                                          WEIL, GOTSHAL & MANGES LLP
                                          767 Fifth Avenue
                                          New York, NY 10153
                                          Telephone: (212) 310-8000
                                          Facsimile: (212) 310-8007

                                          Mark C. Hansen, DC Bar No. 425930
                                          Geoffrey M. Klineberg
                                          Aaron M. Panner
                                          KELLOGG, HANSEN, TODD, FIGEL &
                                           FREDERICK, P.L.L.C.
                                          1615 M Street, N.W., Suite 400
                                          Washington, D.C. 20036
                                          (202) 326-7900
                                          mhansen@kellogghansen.com
                                          gklineberg@kellogghansen.com
                                          apanner@kellogghansen.com

                                          Counsel for Meta Platforms, Inc.

                                          Christopher J. Cox, CA Bar No. 151650
                                          HOGAN LOVELLS US LLP
                                          855 Main St.



                                      9
Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 11 of 12




                                    Suite 200
                                    Redwood City, CA 94063
                                    Telephone No.: (650) 463-4000
                                    Facsimile No.: (650) 463-4199
                                    chris.cox@hoganlovells.com

                                    Lauren Battaglia, DC Bar No. 1007093
                                    Logan M. Breed, DC Bar No. 479628
                                    Benjamin Holt (pro hac vice)
                                    Charles A. Loughlin, DC Bar No.
                                    4482019
                                    HOGAN LOVELLS US LLP
                                    Columbia Square
                                    555 Thirteenth St., NW
                                    Washington, D.C. 20004
                                    Telephone No.: (202) 637-5600
                                    Facsimile No.: (202) 637-5910
                                    lauren.battaglia@hoganlovells.com
                                    logan.breed@hoganlovells.com
                                    benjamin.holt@hoganlovells.com
                                    chuck.loughlin@hoganlovells.com

                                    Counsel for Within Unlimited, Inc.




                               10
       Case 5:22-cv-04325-EJD Document 96-1 Filed 09/29/22 Page 12 of 12




                               CERTIFICATE OF SERVICE
        I hereby certify that on August 16, 2022, a true and correct copy of the foregoing
Defendant’s First Set of Requests for Production of Documents to Plaintiff was served by e-mail
on the following counsel:
Peggy Bayer Femenella
Joshua Goodman
Jeanine Balbach
Michael Barnett
E. Eric Elmore
Justin Epner
Sean D. Hughto
Frances Anne Johnson
Andrew Lowdon
Lincoln Mayer
Kristian Rogers
Anthony R. Saunders
Timothy Singer
pbayer@ftc.gov
jgoodman@ftc.gov
jbalbach@ftc.gov
mbarnett@ftc.gov
eelmore@ftc.gov
jepner@ftc.gov
shughto@ftc.gov
fjohnson@ftc.gov
alowdon@ftc.gov
lmayer@ftc.gov
krogers@ftc.gov
asaunders@ftc.gov
tsinger@ftc.gov

Dated: August 16, 2022

                                                   Patricia Dresel




                                              11
